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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                 CASE:

 CARLOS BRITO,

             Plaintiff,
 v.

 MDR WAREHOUSES, LTD. and BARO
 HARDWARE, INC.,

         Defendants.
 ______________________________________/

                                             COMPLAINT

        Plaintiff, CARLOS BRITO, individually and on behalf of all other similarly situated

 mobility-impaired individuals (hereinafter “Plaintiff”), sues MDR WAREHOUSES, LTD. and

 BARO HARDWARE, INC., (hereinafter “Defendants”), and as grounds alleges:

                              JURISDICTION, PARTIES. AND VENUE

        1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

 litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

 Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

        2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

 § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

        3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

 and may render declaratory judgment on the existence or nonexistence of any right under 42

 U.S.C. § 12181, et seq.

        4.         Plaintiff, CARLOS BRITO, is an individual over eighteen years of age, with a

 residence in Miami-Dade County, Florida, and is otherwise sui juris.
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        5.      At all times material, Defendant, MDR WAREHOUSES, LTD., owned and

 operated a commercial retail center located at 7208 NW 72nd Ave Miami, Florida 33166

 (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

 place of public accommodation in Miami-Dade County, Florida.

        6.      At all times material, Defendant, MDR WAREHOUSES, LTD., was and is a

 Florida Limited Liability Company, organized under the laws of the State of Florida, with its

 principal place of business in Miami Lakes, Florida.

        7.      At all times material, Defendant, BARO HARDWARE, INC., owned and operated

 a commercial restaurant at 7208 NW 72nd Ave Miami, Florida 33166 (hereinafter the

 “Commercial Property”) and conducted a substantial amount of business in that place of public

 accommodation in Miami-Dade County, Florida. Defendant, BEFRESH MEAT AND FISH

 SUPERMARKET INC., holds itself out of the public as “Baro Hardware.”

        8.      At all times material, Defendant, BARO HARDWARE, INC., was and is a Florida

 Profit Corporation, incorporated under the laws of the State of Florida, with its principal place of

 business in Miami, Florida.

        9.      Venue is properly located in the Southern District of Florida because Defendants’

 Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

 business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

 omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                       FACTUAL ALLEGATIONS

        10.     Although over twenty-eight (28) years have passed since the effective date of Title

 III of the ADA, Defendants have yet to make its facilities accessible to individuals with


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 disabilities.

         11.     Congress provided commercial businesses one and a half years to implement the

 Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

 publicity the ADA has received since 1990, Defendants continue to discriminate against people

 who are disabled in ways that block them from access and use of Defendants’ businesses and

 properties.

         12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

 requires landlords and tenants to be liable for compliance.

         13.     Plaintiff, CARLOS BRITO, is an individual with disabilities as defined by and

 pursuant to the ADA. Plaintiff, CARLOS BRITO, is, among other things, a paraplegic (paralyzed

 from his T-6 vertebrae down) and is therefore substantially limited in major life activities due to

 his impairment, including, but not limited to, not being able to walk or stand. Plaintiff requires

 the use of a wheelchair to ambulate.

         14.     Defendant, MDR WAREHOUSES, LTD., owns, operates and oversees the

 Commercial Property, its general parking lot and parking spots.

         15.     The subject Commercial Property is open to the public and is located in Miami,

 Florida, in Miami-Dade County.

         16.     The individual Plaintiff visits the Commercial Property and businesses located

 within the Commercial Property, regularly, to include visits to the Commercial Property and

 businesses located within the Commercial Property on or about June 15, 2021 and encountered

 multiple violations of the ADA that directly affected his ability to use and enjoy the Commercial

 Property and businesses located therein. He often visits the Commercial Property and businesses


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 located within the Commercial Property in order to avail himself of the goods and services offered

 there, and because it is approximately fifteen (15) miles from his residence, and is near other

 businesses and restaurants he frequents as a patron. He plans to return to the Commercial Property

 and the businesses located within the Commercial Property within two (2) months of the filing of

 this Complaint, specifically on or before March 14, 2022.

        17.     Plaintiff resides nearby in the same County and state as the Commercial Property

 and the businesses located within the Commercial Property, has regularly frequented the

 Defendants’ Commercial Property and the businesses located within the Commercial Property for

 the intended purposes because of the proximity to his residence and other businesses that he

 frequents as a patron, and intends to return to the Commercial Property and businesses located

 within the Commercial Property within two (2) months from the filing of this Complaint,

 specifically on or before March 14, 2022.

        18.     The Plaintiff found the Commercial Property, and the businesses located within

 the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

 barriers at the Commercial Property, and businesses located within the Commercial Property and

 wishes to continue his patronage and use of each of the premises.

        19.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

 at the subject Commercial Property, and businesses located within the Commercial Property. The

 barriers to access at the Commercial Property, and the businesses located within the Commercial

 Property have each denied or diminished Plaintiff’s ability to visit the Commercial Property, and

 businesses located within the Commercial Property, and have endangered his safety in violation

 of the ADA. The barriers to access, which are set forth below, have likewise posed a risk of


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 injury(ies), embarrassment, and discomfort to Plaintiff, CARLOS BRITO, and others similarly

 situated.

         20.    Defendants, MDR WAREHOUSES, LTD. and BARO HARDWARE, INC., own

 and/or operate a place of public accommodation as defined by the ADA and the regulations

 implementing the ADA, 28 CFR 36.201 (a) and 36.104. Defendants, MDR WAREHOUSES,

 LTD. and BARO HARDWARE, INC., are responsible for complying with the obligations of the

 ADA. The place of public accommodation that Defendants, MDR WAREHOUSES, LTD. and

 BARO HARDWARE, INC., own and operate the Commercial Property Business located at 7208

 NW 72nd Ave Miami, Florida 33166.

         21.    Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and the businesses located within the Commercial Property,

 including but not necessarily limited to the allegations in Counts I through II of this Complaint.

 Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

 at the Commercial Property, and businesses located within the Commercial Property, in violation

 of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

 only to avail himself of the goods and services available at the Commercial Property, and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property and businesses located within the Commercial Property are in compliance with the ADA,

 so that he and others similarly situated will have full and equal enjoyment of the Commercial

 Property, and businesses located within the Commercial Property without fear of discrimination.

         22.    Defendant, MDR WAREHOUSES, LTD., as landlord and owner of the


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 Commercial Property Business, is responsible for all ADA violations listed in Counts I through

 II.

        23.     Plaintiff, CARLOS BRITO, has a realistic, credible, existing and continuing threat

 of discrimination from the Defendants’ non-compliance with the ADA with respect to the

 described Commercial Property and businesses located within the Commercial Property, but not

 necessarily limited to the allegations in Counts I through II of this Complaint. Plaintiff has

 reasonable grounds to believe that he will continue to be subjected to discrimination at the

 Commercial Property, and businesses within the Commercial Property, in violation of the ADA.

 Plaintiff desires to visit the Commercial Property and businesses within the Commercial Property,

 not only to avail himself of the goods and services available at the Commercial Property and

 businesses located within the Commercial Property, but to assure himself that the Commercial

 Property, and businesses located within the Commercial Property are in compliance with the

 ADA, so that he and others similarly situated will have full and equal enjoyment of the

 Commercial Property, and businesses located within the Commercial Property without fear of

 discrimination.

        24.     Defendants have discriminated against the individual Plaintiff by denying him

 access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

 and/or accommodations of the Commercial Property, and businesses located within the

 Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                   COUNT I – ADA VIOLATIONS
                                  AS TO MDR WAREHOUSES, LTD.
        25.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

 24 above as though fully set forth herein.

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             26.     Defendant, MDR WAREHOUSES, LTD., has discriminated, and continues to

      discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

      facilities by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees and

      gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during his

      visit to the Commercial Property, include but are not limited to, the following:

         A. Parking

  i.     The plaintiff had difficulty accessing the facility, as there are designated accessible parking

         spaces located too far from an accessible route to the facility. Violation: Some of the

         accessible parking spaces are not located on the shortest route to an accessible entrance,

         violating Section 4.6.2 of the ADAAG and Section 208.3.1 of the 2010 ADA Standards,

         whose resolution is readily achievable.

ii.      There are accessible parking space access aisles that are obstructed by bollards. Violation:

         Accessible elements are not properly maintained or readily accessible and usable by persons

         with disabilities violating 28 CFR 36.211, whose resolution is readily achievable.

iii.     The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

         located on an excessive slope. Violation: There are accessible parking spaces located on an

         excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

         Standards, whose resolution is readily achievable.

iv.      The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

         aisles are located on an excessive slope. Violation: There are accessible parking space access

         aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

         of the 2010 ADA Standards, whose resolution is readily achievable.


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      B. Entrance Access and Path of Travel

    i.   The plaintiff had difficulty traversing the path of travel, as it is not continuous and

         accessible. Violation: There are inaccessible routes from the public sidewalk and

         transportation stop. These are violations of the requirements in Sections 4.3.2(1), 4.3.8,

         4.5.1, and 4.5.2 of the ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010

         ADA Standards, whose resolution is readily achievable.

   ii.   The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

         Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

         4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is

         readily achievable.

  iii.   The plaintiff had difficulty using some of the curb ramps, as the slopes are excessive.

         Violation: There are curb ramps at the facility that contain excessive slopes, violating

         Section 4.7.2 of the ADAAG and Sections 405.2 and 406.1 of the 2010 ADA Standards,

         whose resolution is readily achievable.

                           COUNT II – ADA VIOLATIONS
               AS TO MDR WAREHOUSES, LTD. and BARO HARDWARE, INC.

         27.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

 24 above as though fully set forth herein.

         28.     Defendants, MDR WAREHOUSES, LTD. and BARO HARDWARE, INC., have

 discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by failing,

 inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

 has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

 Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

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   the following:

          A. Access to Goods and Services

 i.       The plaintiff could not use the sales counters without assistance, as they are mounted too high.

          Violation: There are sales counters at the facility in excess of 36” high, violating Section 7.2(1)

          of the ADAAG and Section 904.4 of the 2010 ADA Standards, whose resolution is readily

          achievable.

ii.       The plaintiff could not reach the ticket counter, as it is mounted too high. Violation: There are

          self-service areas with elements that are outside of the reach ranges prescribed in Sections

          4.2.5, 4.2.6, and 4.27.3 of the ADAAG and Section 308 of the 2010 ADA Standards, whose

          resolution is readily achievable.

          B. Public Restrooms

        i.   There are permanently designated interior spaces without proper signage, violating Section

             4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

             whose resolution is readily achievable.

      ii.    The plaintiff had difficulty using the locking mechanism on the restroom door without

             assistance, as it requires tight grasping. Violation: The restroom door has non-compliant

             hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and

             Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

             achievable.

      iii.   The plaintiff could not exit the restroom without assistance, as the required maneuvering

             clearance is not provided. Violation: The restroom door does not provide the required latch




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          side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

          ADA Standards, whose resolution is readily achievable.

   iv.    The plaintiff could not flush the toilet without assistance, as the flush valve is not mounted

          on the wide area. Violation: The flush valve is not mounted on the compliant side in

          violation of Section 4.16.5 of the ADAAG and Section 604.6 of the 2010 ADA Standards,

          whose resolution is readily achievable.

    v.    The plaintiff could not transfer to the toilet without assistance, as the grab bars are not the

          required length. Violation: The grab bars do not comply with the requirements prescribed

          in Section 4.16.4 & Figure 29 of the ADAAG and Sections 604.5 & 609.4 of the 2010

          ADA Standards, whose resolution is readily achievable.

   vi.    The plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

          required distance from the side wall. Violation: The water closet is mounted at a non-

          compliant distance from the side wall, violating Section 4.16.2 and Figure 28 of the

          ADAAG and Section 604.2 of the 2010 ADA Standards, whose resolution is readily

          achievable.

  vii.    The plaintiff had difficulty using the toilet paper due to the roll not being located within a

          dispenser. Violation: Elements in the restroom are not readily accessible and usable by

          persons with disabilities, violating 28 CFR 36.211, whose resolution is readily achievable.

  viii.   The plaintiff could not use the toilet paper dispenser without assistance, as it is not mounted

          at the required location. Violation: The toilet paper dispenser is not mounted in accordance

          with Section 4.16.6 and Figure 29 of the ADAAG and Section 604.7 of the 2010 ADA

          Standards, whose resolution is readily achievable.


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   ix.   The plaintiff could not use the paper towel and soap dispensers without assistance, as they

         are mounted too high. Violation: There are dispensers provided for public use in the

         restroom, with controls outside the ranges prescribed in Sections 4.2.5, 4.2.6, and 4.27.3

         of the ADAAG and Sections 308 & 309.3 of the 2010 ADA Standards, whose resolution

         is readily achievable.

                                  RELIEF SOUGHT AND THE BASIS

         29.     The discriminatory violations described in Counts I through II are not an exclusive

  list of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places

  of public accommodation in order to photograph and measure all of the discriminatory acts

  violating the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff

  further requests to inspect any and all barriers to access that were concealed by virtue of the

  barriers' presence, which prevented Plaintiff, CARLOS BRITO, from further ingress, use, and

  equal enjoyment of the Commercial Business and businesses located within the Commercial

  Property; Plaintiff requests to be physically present at such inspection in conjunction with Rule

  34 and timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

  measures necessary to remove same, will require an on-site inspection by Plaintiff’s

  representatives pursuant to Federal Rule of Civil Procedure 34.

         30.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  businesses and facilities; and has otherwise been discriminated against and damaged by the


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  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the

  Americans with Disabilities Act.

          31.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          32.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

          33.     A Defendant is required to remove the existing architectural barriers to the


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  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         34.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

  and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

  or waived by the Defendant.

         35.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate their

  businesses, located at and/or within the commercial property located at 11996 N Miami Ave.

  Miami, Florida 33168, the exterior areas, and the common exterior areas of the Commercial

  Property and businesses located within the Commercial Property, to make those facilities readily

  accessible and useable to The Plaintiff and all other mobility-impaired persons; or by closing the

  facility until such time as the Defendants cure the violations of the ADA.

             WHEREFORE, The Plaintiff, CARLOS BRITO, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and


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  usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: January 7, 2022.

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                                                By: ___/s/_Anthony J. Perez________
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